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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    In re:                                   ) Chapter 7
                                             )
    CAMPISI CONSTRUCTION, INC.               ) Case No. 14-12458 (JFK)
                                             )
                        Debtor               )
                                             )

    CAMPISI CONSTRUCTION, INC.               )
                 Plaintiff,                  )
                                             )
             v.                              ) Adv. Pro. No. 14-00616 (JFK)
                                             )
    ECI, LLC                                 )
                                             )
             and                             )
                                             )
    CORNERSTONE CONSULTING                   )
    ENGINEERS & ARCHITECTURAL,               )
    INC.                                     )
                 Defendants.                 )
                                             )

                   ORDER VACTING ORDER DATED APRIL 28, 2017
                        OE
      AND NOW, this       day of February, 2018 it is hereby ORDERED that the Order

of this Court dated April 28, 2017 and entered on May 1, 2017 is hereby VACATED:


                                              BY THE COURT:



                                             _______________________________
                                             Jean K. FitzSimon
                                             United States Bankruptcy Judge
